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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                          March 14, 2025
                                                                        Nathan Ochsner, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

         JOANNA BURKE,              § CIVIL ACTION NO
                  Plaintiff,        § 4:24-cv-00897
                                    §
                                    §
               vs.                  § JUDGE CHARLES ESKRIDGE
                                    §
                                    §
         PHH MORTGAGE               §
         CORPORATION, et al,        §
                  Defendants.       §

                       ORDER ADOPTING
           MEMORANDA AND RECOMMENDATIONS AND ORDERS

             Plaintiff Joanna Burke initiated this lawsuit in state
        court against several defendants as a pro se litigant. All
        defendants other than PHH Mortgage Corporation were
        dismissed after removal to this Court. Dkt 23. The matter
        was then referred for pretrial management to Magistrate
        Judge Christina A. Bryan. Dkt 26.
             Defendant PHH Mortgage Corporation filed motions
        for summary judgment and to declare Plaintiff a vexatious
        litigant. Dkts 27 & 28. Plaintiff filed her own motion to
        dismiss. Dkt 33.
             Pending are several Orders and Memoranda and
        Recommendations from Judge Bryan dated January 23,
        2025. In sum, these rulings:
                 o Deny a motion by Plaintiff (Dkt 51) for leave to
                     supplement her response to Defendant’s
                     summary judgment motion;
                 o Deny as moot her motion (Dkt 45) for leave to
                     file a surreply to Defendant’s summary
                     judgment motion;
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                o   Deny her motion (Dkt 53) for leave to file a
                    surreply to Defendant’s motion to declare
                    Plaintiff a vexatious litigant;
                 o Recommend denying Plaintiff’s motion (Dkt 33)
                    to dismiss;
                 o Recommend granting Defendant’s motion
                    (Dkt 27) for summary judgment; and
                 o Recommend granting Defendant’s motion
                    (Dkt 28) to declare Plaintiff a vexatious
                    litigant.
        Dkts 54–59.
            Also pending are objections by Plaintiff to each of the
        above. Dkts 64–69.
            And pending is an Order of the Magistrate Judge on
        February 20, 2025, denying Plaintiff’s motions to stay or to
        certify questions to the Fifth Circuit for review. Dkt 70
        (order); see Dkts 61 & 62 (motions). Also pending is an
        objection and request for reconsideration by Plaintiff.
        Dkt 72. Although unclear, it may also request
        reconsideration of certain of the Orders noted above. See id
        at 5.
            As to the Orders, a district court will set aside a non-
        dispositive order of a magistrate judge to which a party has
        specifically objected only if it is clearly erroneous or
        contrary to law. See FRCP 72(a) & 28 USC § 636(b)(1)(A);
        see also Castillo v. Frank, 70 F3d 382, 385 (5th Cir 1995).
            The objections by Plaintiff to the Orders of Judge
        Bryan from January 2025 are substantially identical
        despite addressing different rulings. The objections lack
        merit. The Orders clearly detail the pertinent facts and
        correctly apply controlling law.
            As such, the objections will be overruled. Dkts 67, 68 &
        69. And the Orders of the Magistrate Judge will be adopted
        as the Orders of this Court. Dkts 54, 55 & 56.
            The objection and request for reconsideration of the
        Order from February 2025 has been reviewed de novo. It
        contains no specifics, and indeed, no arguments. As such




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        the objection will be overruled and the request for
        reconsideration denied, inclusive of any underlying motion
        referenced by citation. Dkt 72. And the subject Order will
        be adopted as the Order of this Court. Dkt 70.
            As to the Memoranda and Recommendations, a district
        court reviews de novo those conclusions of a magistrate
        judge to which a party has specifically objected. See
        FRCP 72(b)(3) & 28 USC § 636(b)(1)(C); see also United
        States v Wilson, 864 F2d 1219, 1221 (5th Cir 1989,
        per curiam). The district court may accept any other
        portions to which there’s no objection if satisfied that no
        clear error appears on the face of the record. See Guillory v
        PPG Industries Inc, 434 F3d 303, 308 (5th Cir 2005), citing
        Douglass v United Services Automobile Association, 79 F3d
        1415, 1430 (5th Cir 1996, en banc); see also FRCP 72(b)
        advisory committee note (1983).
            Plaintiff has filed substantially identical objections to
        the three separate Memoranda and Recommendations by
        Judge Bryan. Dkts 64, 65 & 66. Rule 72(b)(2) of the Federal
        Rules of Civil Procedure requires parties to file “specific
        written objections to the proposed findings and
        recommendations.” By this standard, it is legally
        insufficient to present the district court with a broad
        assortment of issues accompanied by little more than a
        directive to resolve them. But that, in the main, is all that’s
        been done here.
            Certain standards from the Fifth Circuit are clear in
        this regard. For instance, the findings and conclusions of
        the magistrate judge needn’t be reiterated on review. See
        Keotting v Thompson, 995 F2d 37, 40 (5th Cir 1993).
        Likewise, objections that are frivolous, conclusory, or
        general in nature needn’t be considered. See Battle v
        United States Parole Commission, 834 F2d 419, 421
        (5th Cir 1987); United States v Ervin, 2015 WL 13375626,
        at *2 (WD Tex), quoting Arbor Hill Concerned Citizens
        Neighborhood Association v County of Albany, 281
        FSupp2d 436, 439 (NDNY 2003). And de novo review isn’t
        invoked by simply re-urging arguments contained in the
        underlying motion. Edmond v Collins, 8 F3d 290, 293 n7




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        (5th Cir 1993); see also Smith v Collins, 964 F2d 483, 485
        (5th Cir 1992) (finding no error in failure to consider
        objections because plaintiff “merely reurged the legal
        arguments he raised in his original petition”); Williams v
        Woodhull Medical & Mental Health Center, 891 F Supp 2d
        301, 310–11 (EDNY 2012) (de novo review not warranted
        for conclusory or general objections or which merely
        reiterate original arguments).
             Simply put, where the objecting party makes only
        conclusory or general objections, or simply reiterates
        original arguments, review of the memorandum and
        recommendation may permissibly be for clear error only.
        That’s the situation here. Reasonable depth and
        explanation were needed to properly present any one of
        these issues if de novo review was intended.
            No clear error appears upon review and consideration
        of the Memorandum and Recommendations, the record,
        and the applicable law.
            Even though that’s all of the review required, the Court
        has nevertheless also examined the objections de novo and
        finds that they lack merit for the reasons stated by the
        Magistrate Judge.
            The objections by Plaintiff will be overruled. Dkts 64,
        65 & 66. And the Memoranda and Recommendations of the
        Magistrate Judge will be adopted as the Memoranda and
        Orders of this Court. Dkts 57, 58 & 59.
                                  * * *
            The objections by Plaintiff Joanna Burke to the Orders
        of the Magistrate Judge of January 23, 2025, are
        OVERRULED. Dkts 67, 68 & 69. The Orders of the Magistrate
        Judge are ADOPTED as the Orders of this Court. Dkts 54,
        55 & 56. As such, the related motions by Plaintiff are
        DENIED. Dkts 45, 51 & 53.
            The objection by Plaintiff Joanna Burke to the further
        Order of the Magistrate Judge of February 20, 2025, is
        OVERRULED, and the included motion for reconsideration is
        further DENIED upon de novo review. Dkt 72. The Order of
        the Magistrate Judge is ADOPTED as the Order of this




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        Court. Dkt 70. As such, the related motions by Plaintiff are
        DENIED. Dkts 61 & 62.
            The objections by Plaintiff to the Memoranda and
        Recommendations of the Magistrate Judge are OVERRULED.
        Dkts 64, 65 & 66. The Memoranda and Recommendations
        of the Magistrate Judge are ADOPTED as the Memoranda
        and Orders of this Court. Dkts 57, 58 & 59. As such, the
        related motions by Defendant PHH Mortgage Corporation
        are GRANTED Dkts 27 & 28. And the related motion by
        Plaintiff is DENIED. Dkt 33.
            Any other pending motion, if any, is DENIED AS MOOT.
            This action is DISMISSED WITH PREJUDICE.
            Plaintiff is hereby declared to be a VEXATIOUS LITIGANT.
            A FINAL JUDGMENT and a PRE-FILING INJUNCTION ORDER
        will both enter separately.
            SO ORDERED.
            Signed on March 14, 2025, at Houston, Texas.


                                   ___________________________
                                   Hon. Charles Eskridge
                                   United States District Judge




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